                           Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 1 of 14




. «,~.JFL                                                                                    CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein n.either replace nor supplement the filing and service ofpleadin&s or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
                                                                                                                                                                                                  18                      1325
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEX'F PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                                        DEFENDANTS
                                                                                                                                       Family Garden II, Inc. d/b/a Family Garden Chinese Restaurant,
                YONG LI                                                                                                                Family Garden Zhang, Happy Family Chinese Rest., Zhi Wei He,
                                                                                                                                       Zhao Zhang, "Jane Doe", and Dexing Gao
     (b) County of Residence of First Listed Plaintiff                            QUEENS                                                County of Residence of First Listed Defendant _ Berks
                                   (EXCEPT IN U.S. PLAINTIFF C-A-S-ES-~---------                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                         NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                       THE TRACT OF LAND INVOLVED.

   (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                               Attorneys (If Known)
 Yong Li, Pro Se                                            ,
 3915 Main Street, Flushing, NY 11354- (718) 939-8880
 $Vt"i£
II. BASIS OF JURISDICTION (Ptacean "X"inOneBoxOntyJ                                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                                  (For Diversity Cases Only)                                                    and One Boxfor Defendant)
Ll 1    U.S. Government                ~3            Federal Question                                                                                      PTF                   DEF                                          PTF      DEF
           Plaintiff                                   (U.S. Government Not a Pilrty)                                        Citizen of This State          Ll 1                 Ll 1      Incorporated or Principal Place      Ll 4    Ll 4
                                                                                                                                                                                             of Business In This State

Ll 2    U.S. Government                Ll 4          Diversity                                                                Citizen of Another State               Ll 2         Ll   2   Incorporated and Principal Place       Ll5       Ll5
           Defendant                                   (Indicate Citizenship of Pa'rties in Item Ill)                                                                                         of Business In Another State

                                                                                                                             Citizen or Subject of a                 Ll 3         Ll   3   Foreign Nation                         Ll6       Ll6
                                                                                                                               Foreign Coun
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                                  Click here for: Nature of Suit Code Descriotions
                                    ,~···"'   ;···;y;;;;c,   ;'\~'ifi,·.~h.· ··.?"¥ddJt0»$'DSE0DDf,1 "M~"-'":                               14ifl!RE'/RENA"t'tVt9ffiiJR),·':" .. "'w              IQ',,                       ·iS\r~mnl!1$'..'ifi4iii
0 l l 0 Insurance                          PERSONAL INJURY                               PJ;:RSONAL INJURY                    Ll 625 Drug Related Seizure                  Ll 422 Appeal 28 USC 158            Ll 375 False Claims Act
Ll   120 Marine                       Ll   310 Airplane                               Ll 365 Personal Injury -                       of Property 21USC881                  Ll 423 Withdrawal                   Ll 376 Qui Tam (31 USC
Ll   130 Miller Act                   Ll   315 Airplane Product                               Product Liability
                                                                                              1
                                                                                                                              Ll 690 Other                                        28 USC 157                          3729(a))
Ll   140 Negotiable Instrument                  Liability                             Ll 367 Health Care/                                                                                                      Ll 400 State Reapportionment
Ll   150 Recovery of Overpayment      Ll   320 Assault, Libel &                              Pharmaceutical                                                                                                    Ll 410 Antitrust
         & Enforcement of Judgment              Slander                                      Personal Injury                                                               Ll   820 Copyrights                 Ll 430 Banks and Banking
Ll   151 Medicare Act                 Ll   330 Federal Employers'                          , Product Liability                                                             Ll   830 Patent                     Ll 450 Commerce
Ll   152 Recovery of Defaulted                  Liability                             Ll 368 Asbestos Personal                                                             Ll   835 Patent - Abbreviated       Ll 460 Deportation
         Student Loans                Ll   340 Marine                                         Injury Product                                                                        New Drug Application       Ll 470 Racketeer Influenced and
         (Excludes Veterans)          Ll   345 Marine Product                                 Liability
                                                                                              1
                                                                                                                                                                           Ll   840 Trademark                         Corrupt Organizations
Ll   153 Recovery of Overpayment                Liability                               PERSONAL PROPERTY                    'f>n                                                    ''· !''          ·''< - ; Ll 480 Consumer Credit
         of Veteran's Benefits        Ll   350 Motor Vehicle                          Ll 379 Other Fraud                      Ill>        710 Fair Labor Standards         Ll   861 HIA (1395fl)               Ll 490 Cable/Sat TV
Ll   160 Stockholders' Suits          Ll   355 Motor Vehicle                          Ll 37" Truth in Lending                                  Act                         Ll   862 Black Lung (923)           Ll 850 Securities/Commodities/
Ll   190 Other Contract                        Product Liability                      Ll 389 Other Personal                            Ll 720 Labor/Management             Ll   863 DIWC/DIWW (405(g))                Exchange
Ll   195 Contract Product Liability   Ll   360 Other Personal                                Property Damage                                   Relations                   Ll   864 SSJD Title XVI             Ll 890 Other Statutory Actions
Ll   196 Franchise                             Injury                                 Ll 38S Property Damage                           Ll 740 Railway Labor Act            Ll   865 RSI (405(g))               Ll 891 Agricultural Acts
                                      Ll   362 Personal Injury -                           : Product Liability                         Ll 751 Family and Medical                                               Ll 893 Environmental Matters
                                               Medical Malpractice                                                                             Leave Act                                                       Ll 895 Freedom of Infonnation
m;11::s1ttntl\.'C:tm.OPERTV                                            !J!,          l""'=i;w="'"....    "'Tfll"''"lt,.o.,N"'S"'f""li; Ll 790 Other Labor Litigation            •»1nl1ltm\I!llll(, ·                  Act
Ll   210 Land Condemnation            Ll 440 Other Civil Rights                            H~beas Corpus:                              0 791 Employee Retirement           Ll   870 Taxes (U.S. Plaintiff     'Ll 896 Arbitration
Ll   220 Foreclosure                  Ll 441 Voting                                   0    46~ Alien Detainee                                 Income Security Act                   or Defendant)              Ll 899 Administrative Procedure
Ll   230 Rent Lease & Ejectment       Ll 442 Employment                               Ll   510 Motions to Vacate                                                           Ll   871 IRS-Third Party                   Act/Review or Appeal of'
Ll   240 Torts to Land                Ll 443 Housing/                                        : Sentence                                                                             26 USC 7609                       Agency Decision
Ll   245 Tort Product Liability              Accommodations                           Ll   530 General                                                                                                         Ll 950 Constitutionality of
Ll   290 All Other Real Property      Ll 445 Amer. w/Disabilities -                   Ll   535 Death Penalty                          lric~:ec;i'··'lMMl6MllllON',                                                    State Statutes
                                             Employment                                    Other:                                      Ll 462 Naturalization Application
                                      Ll 446 Amer. w/Disabilities -                   Ll   54p Mandamus & Other                        Ll 465 Other Immigration
                                             Other                                    Ll   55p Civil Rights                                   Actions
                                      Ll 448 Education                                0    555 Prison Condition
                                                                                      Ll   56p Civil Detainee -
                                                                                               Conditions of
                                                                                               Confinement

V. 0 RI GIN (Place an "X" in One Box Only)
]:i( I Original           0 2 Removed from                                0   3      Remajlded from                   0 4 Reinstated or              0 5 Transferred from                  0 6 Multidistrict            0 8 Multidistrict
        Proceeding            State Court                                            Appellate Court                      Reopened                       Another District                      Litigation -                 Litigation -
                                                                                                                                                             (specify)                         Transfer                    Direct File
                                            Cit~~'(Jst ~!J~l ~\a~quhder which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION                         Brief description of cause: :                                       .
                                              Failure to pay overtime and provide wage records
VII. REQUESTED IN     0                                 CHECK IF THIS IS A CLASS ACTION                                              DEMAND$                                           CHECK YES only if demanded in complaint:
     COMPLAINT:                                         UNDER RULE 23, F.~.Cv.P.                                                                                                       JURY DEMAND:                 0 Yes        )!:!No
VIII. RELATED CASE(S)
                                                   (See instructions):
      IF ANY                                                                          JUDGE                                                                                     DOCKET NUMBER
DATE
03/01/2018                                                                                                                                                                  Plaintiff, Pro Se
FOR OFFICE USE ONLY

     RECEIPT#                      AMOUNT                                                         APPL YING IFP                                           JUDGE                                   MAG.JUDGE
           Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 2 of 14




J                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                             1!




                        CASE MANAGEMENT TRACK DESIGNATION FORM
                                             I


                                                                             CIVIL ACTION
                           v.
                                                                             NO.    18              1325
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event! that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall,! with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties,: a Case Management Track Designation Form specifying the track
                                             1




to which that defendant believes !,the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
                                        I:


(c) Arbitration - Cases required    fo be designated for arbitration under Local Civil Rule 53.2.   ( )
(d) Asbestos - Cases involving tjlaims for personal injury or property damage from
    exposure to asbestos.       i                                                                   ( )
                                        i
(e) Special Management- CaseS that do not fall into tracks (a) through (d) that are
    commonly referred to as coniplex and that need special or intense management by
    the court. (See reverse side M
                                 I
                                   this form for a detailed explanation of special
    management cases.)             11



                                   I
                                                                                                    ( )
                                                                                                    (~
                                    I

(f) Standard Management- Cas 1~s that do not fall into any one of the other tracks.



  3-~(,            - ~O I 8'
Date

(7/9) g'8fJ-Ol/.1~
Telephone                                         FAX Number             E-Mail Address



(Civ. 660) 10/02
                              Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 3 of 14


                          L                                      UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM ti) be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.                   ~
                                                                                                                                           !8                1325
AddressofPlaintiff:39-15 (Y}aitJ Sfresf #,31 i
Addressomefendant:  /10 I fe,c/<iomet\ Ave., f1ea,..cl.t·11, 1 PA J'I' 0 L
Place of Accident, Incident or Transaction:    '10/      P•rHi.,.,,.'f A'tl'              R"'4/J1~ I PA t fbD2                     (1JMp/1Jy1t111t.•f)
                                                                           (Use Revers/ Side For Ad      ional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
     (Attach two copies of the Disclosure Statement Form in accordance with FedR.Civ.P. 7.l(a))                                     YesD   Nolif"

Does this case involve multidistrict litigation possibilities?                                                                      Yeso      Nofil'
RELATED CASE, IF ANY:
Case Number:                                       Judge                                                 Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD      Nor
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                      YesD       Nor/
3. Does this case involve the validity or infringement ~t already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                              YesD      No'7


4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                    YesD       No~
CNIL: (Place      V in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                  B. Diversity Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                          I.   D   Insurance Contract and Other Contracts
 2.    D   FELA                                                                                            2.    D   Airplane Personal Injury
 3.    D   Jones Act-Personal Injury                                                                       3.    D   Assault, Defamation
 4. o Antitrust                                                                                            4.    D   Marine Personal Injury
 5.    D   Patent                                                                                          5.    D   Mo.tor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                           6.    D   Other Personal Injury (Please specify)
 7.    D   Civil Rights                                                                                    7.    D   Products Liability
 8.    D   Habeas Corpus                                                                                    8. o Products Liability -         Asbestos
 9.    D   Securities Act(s) Cases                                                                          9. o All other Diversity Cases
I 0.   D   Social Security Review Cases                                                                              (Please specify)
11.    rt'All other Federal Question Cases                        ;
           (Please specify)    f!9L.S A .2.Cf         use f 20/              c.r M•
                                                                      ARBITRATION CERTIFICATION
                                                                            (Check Appropriate Category)
I,                                                                ~ounsel of record do hereby certify:
   o Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that lo the best of my knowl!:!dge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
   D Relief other than monetary damages is sought.


DATE:~~~~~~~~-
                                                                                                  Pro Se Plaintiff
                                         NOTE: A trial de nave) will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not relat~d to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:        3-JL,.- ~of1:(
                                                                             '4~·
CN. 609 (5/2012)
         Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 4 of 14


                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRIGT OF :PENNSYLVANIA
                                   U.S. COURTHOUSE
                             INDEPENDENCE MALL WEST
                                  601 MARKET STREET
                             PIIlLADELPHIA, PA.19106-1797

                                                                         March 13, 2018
Dear Petitioner:

Yong Li
39-15 Main Street #318
Flushing, NY 11354



               Complaint(s) I Appeal(s) - Missing the following:

                      ( ) Civil Cover Sheet

                      ( X ) Designation Form

                      ( X) Case Management Track Designation Form

                      ( ) Full Filing Fee I IFP Statement
                             1.) Complaint Fee - $400.00
                             2.) Appeal Fee - $505.00
                             3.) Habeas Fee - $5.00

                      ( ) Claim for relief


                      Other:

Regarding: In order for the U.S'. District Court to process your Complaint the enclosed
Designation form and Case Management Track form must be completed in their entirety,
including checking off ONLY ONE BOX in the highlighted areas.



                                                            Sincerely,


                                                            KATE BARKMAN
                                                            Clerk of Court


Encl:
         Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 5 of 14


                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
                                   U.S. COURTHOUSE
                             INDEPENDENCE MALL WEST
                                  601 MARKET STREET
                             PlllLADELPHIA, PA.19106-1797

                                                                         March 13, 2018
Dear Petitioner:

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39-15 Main Street #318
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                             1.) Complaint Fee - $400.00
                             2.) Appeal Fee - $505.00
                             3.) Habeas Fee - $5.00

                      ( ) Claim for relief


                      Other:

Regarding: In order for the U.s:. District Court to process your Complaint the enclosed
Designation form and Case Management Track form must be completed in their entirety,
including checking off ONLY ONE BOX in the highlighted areas.



                                                            Sincerely,


                                                            KATE BARKMAN
                                                            Clerk of Court


Encl:
        Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 6 of 14




                                                                         QilE©IEO"!Eff
                                          Yong Li                               MAR 1 !. ?018
                                '39-15 Main Street- #318                    i                   i.;;;.I


                                    Flushing, NY 11354
                                      (718) 939-8810
             ===============~===================================




March 9, 2018
Clerk of Court
United States District Court - ~astern District of Pennsylvania
601 Market Street, Room 2609
Philadelphia, PA 19106

       Re:     Liv. Family Garden II, Inc. d/b/a Family Garden Chinese Restaurant

Dear Sir/Madam:

I am filing a complaint against family Garden II, Inc. and others. Enclosed please find
an original and copies of Summons and Complaint for each defendant. I am also
enclosing copies for myself, o~ce the Court stamps it and issues a case number.
                                I




I would like to have access to the electronic filing system for this case. I would greatly
appreciate your guidance as ttj how I go about making this case an electronically filing
case, because it would make it much easier for everyone.

Thank you for your kind assist~nce and attention.

Sincerely yours,



~,·
        Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 7 of 14




  fJFL                               !

                        UNITED STATES DISTRICT COURT
                                     !

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

YONG LI,
                                     • Plaintiff,
                                                                    Civil Action No.:
                -against-
                                                                                18            1325
FAMILY GARDEN II, INC. d/b/~ Family Garden Chinese
Restaurant, FAMILY GARDEN ZHANG, HAPPY FAMILY
                                                                    COMPLAINT
CHINESE REST., ZHI WEI HE, ZHAO ZHANG,
"JANE DOE", and DEXING GA<b,
                                         Defendants


       PlaintiffY ong Li (hereinafter "Li" or "Plaintiff'), prose, as and for his Complaint

against the Defendants FAMILY OARDEN II, INC. dba Family Garden Chinese Restaurant,

(hereinafter "Family Garden II"), FAMILY GARDEN ZHANG (hereinafter "Garden Shang"),

HAPPY FAMILY CHINESE RESiT. (hereinafter "Happy Family"), ZHI WEI HE (hereinafter
                                 '
"Defendant He"), ZHAO ZHANG (hereinafter "Defendant Zhang"), "JANE DOE", whose true

name Plaintiff will seek to ascert(\in through appropriate discovery, and DEXING GAO

(hereinafter "Defendant Gao"), (cbllectively "Defendants"), alleges the following:

                                         NATURE OF ACTION

       1.     This action is brou~ht pursuant to the Fair Labor Standards Act (hereinafter

referred to as "FLSA"), 29 u.s.c; §201 et seq.; 29 U.S.C. §206, 207 and 216(b); the

Pennsylvania Minimum Wage Adt ("PMWA"), 43 P.S. §333.101 et seq.; the Pennsylvania Wage
                                 I
Payment and Collection Law ("WPCL"), 43 P.S. §260.1 et seq.; and Pennsylvania common law,

to recover unpaid wages and overtime compensation owed to Plaintiff who was formerly

employed by and worked at the r¢staurant operating under the name "Family Garden Chinese

Restaurant" located and doing business at 1701 Perkiomen A venue, Reading, PA 19602, that is



                                                                                               1
         Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 8 of 14




owned, operated and/or managed by Defendants Family Garden II, Inc., Garden Zhang, Happy

Family, Defendant He, Defendant Zhang, Defendant "Jane Doe" a/k/a "Lili", and Defendant
                                       1




Gao, and Plaintiff has been subject to the unlawful practices detailed herein.

       2.       Upon information *nd belief, Defendants have willfully and intentionally engaged

in flagrant violations of the FLSA by engaging in a pattern and practice of failing to pay their

employees, including Plaintiff, compensation for all hours worked and overtime compensation

for all hours worked over forty (4@) each workweek at the rate of 1.5 times regular rate of pay.

       3.       Plaintiff alleges putsuant to the FLSA, that he is entitled to recover from

Defendants: (1) unpaid wages, (2)! overtime wages, (3) liquidated damages, (4) prejudgment and

post-judgment interest; (5) costs; and attorneys' fees, if any.

       4.       Plaintiff does not presently know the true name of Defendant sued as "Jane Doe."

Plaintiff alleges that she is the spouse of Defendant Zhi Wei He. Plaintiff knew her as "Lili" or

"Boss' Wife." She is a co-owner who supervised plaintiff, paid his wages in cash, and had the
                                   '
ability to hire and fire him. Plaindff will seek leave to amend this Complaint once her identity

be~omes known to Plaintiff. Plai~tiff further alleges that at all relevant times Defendant "Jane
Doe" ("Lili" or "Boss' Wife") was an officer, director and owner of Family Garden, Family

Garden Zhang and Happy Familyl and that she made it explicitly clear to Plaintiff that she was

his employer.

        5.      At all relevant times, all of the named defendants were directors and owners of

the restaurant where Plaintiff worked; they each and all shared authority over Plaintiffs work

and paid his wages; and all the defendants represented themselves to be Plaintiffs employers.

Further, that Family Garden II, Garden Zhang and Happy Family were a joint enterprise under

the same management and ownership.




                                                                                                    2
         Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 9 of 14




                                          JURISDICTION

4.      This Court has original F e~eral Question jurisdiction over this controversy pursuant to

29 U.S.C. §201 et seq. and §216(b), and 28 U.S.C. §1331. Moreover, this Court has original

jurisdiction of this civil action under 28 U.S.C. §1332(a) because the matter in controversy

exceeds the sum or value of$75,0b0.00, exclusive of interest and costs, and is between citizens

of different states. The Plaintiff is a citizen and resident of the State of New York, and pursuant

to 28 U.S.C. § 1332(c)(l), the corporate defendant Family Garden II is deemed to be a citizen of

the State of Pennsylvania, where incorporated and where it has its principal place of business.

        5.      Further, this Court has supplemental jurisdiction over Plaintiffs state law claims

pursuant to 28 U.S.C. § 1367(a) because those claims are so related to claims in the action within
                                    I

the Court's original jurisdiction th'.at they form part of the same case or controversy.

5.      There is no conflict between the applicable laws of Pennsylvania and the FLSA, as the

relevant state statutes at issue either provide rights identical to or track the language ofFLSA.

                                               VENUE

6.      Venue is proper in this district pursuant to 28 U.S.C. §139l(b)(ii) because a substantial

part of the acts or omissions givinig rise to the claims alleged in this action occurred within this

judicial district, and Defendants are subject to personal jurisdiction in this district.

                                           THE PARTIES

Plaintiff

9.      Plaintiff Yong Li is an individual residing in the State of New York who has performed

labor for the Defendants' restaurants in Pennsylvania.




                                                                                                       3
       Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 10 of 14




Defendants

10.    Family Garden II, Inc.   d/b~a   Family Garden Chinese Restaurant is an active Pennsylvania

business corporation since 12/20/2007, with a principal place of business at 1701 Perkiomen

Ave., Reading, PA 19602, whose President is Defendant Dexing Gao. This is the address at

which Plaintiff worked.
                                   1




11.    Defendant Family Garden Zhang was incorporated under the laws of.Pennsylvania with

an address at 1701 Perkiomer [sic] Ave., Reading, PA 19602, which filing was subsequently

cancelled. However, in Plaintiffs W2's, it is this Defendant who appears as the Payee.

12.    Defendant Happy Family Chinese Rest. is a business registered with the Pennsylvania

Secretary of State with an addressi at 632 Greenwich Street, Reading, PA 19601. Upon

information and belief, this Defendant is owned and managed by same individual Defendants.

13.    Defendant Zhi Wei He is ~n owner and manager of the corporate defendants.

14.    Defendant Zhao Zhang is an owner and/or manager of the corporate defendants.

15.    Defendant "Jane Doe" is the spouse of Defendant Zhi Wei He. Plaintiff knew her as

"Lili," or "Boss' Wife." She was an owner and manager of the corporate defendants, and

managed the Plaintiffs    employm~nt    at the location where Plaintiff worked for Defendants.

16.    Defendant Dexing Gao is hamed by the Pennsylvania Secretary of State as the President

of corporate defendant Family Ga:rden II, Inc.

17.    Defendants engage in interstate commerce, and/or handle, sell, or work on goods or

materials that have been moved in or produced for interstate commerce.

18.    Upon information and belief, Defendants' annual gross volume of sales is not less than

$500,00000.




                                                                                                 4
       Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 11 of 14




                                              FACTS

19.    Plaintiff worked for the Defendants from Aprill, 2007 to August 30, 2016 as a Kitchen

Helper. His duties included general kitchen help (chopping vegetables, cleaning, deliveries,

loading and unloading trucks at the warehouse, and miscellaneous tasks).

20.    Plaintiffs wages consisted of $2,300.00 per month. This never changed throughout

Plaintiffs employment by Defendants.

21.    Plaintiffs hours were the following:

       Monday- Thursday: 11 A.M. - 11 P .M. (12 hours);
       Friday and Saturday: 11 A.M. - 12 Mid. (13 hours);
       Sunday:              12 P.M. - 1 lP.M. (11 hours).

       NO BREAKS.

22.    Plaintiff used his own car and insurance to make deliveries. In early 2015, Plaintiff had a

car accident while making a delivery for Defendants. It was a hit-and-run, and Plaintiff absorbed
                                  '
all repair and car rental costs in excess of $4,000, without reimbursement.

23.    On August 30, 2016, Plairttiff requested a vacation [he had not had time off in over nine

(9) years, and Defendants granted a two-month unpaid vacation. When Plaintiff returned on or

about October 30, 2016, Defendants terminated his employment for no reason. But for
                                  '
Defendants' promise that Plaintiff would have his job upon his return, Plaintiff would not have

taken the vacation.

24.    Plaintiff worked for Defertdants 74 hours each week, or 34 hours overtime weekly.

25.    Beginning about April, 2007 and continuing to at least September 2016, Defendants have

failed to provide the statutory hotlrly wage to its employees as required by federal and state law.




                                                                                                      5
        Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 12 of 14




26.    Beginning prior to April 2007 and continuing to at least September 2016, Defendants

have engaged in a policy and practice of requiring their employees to regularly work in excess of

forty (40) hours per week, without providing overtime compensation as required by law.

27.    Under the direction of the borporate and individual defendants, Defendants instituted this

practice of depriving Plaintiff of c'ompensation, including overtime wages, for all work as

mandated by federal and state law.

28.    Upon information and beHef, Defendants He, Zhang, Doe and Gao are and have been

throughout the relevant times her~in the Managing Directors and/or owners of Defendants'

restaurants, and (a) had the power! t hire and fire employees for those entities; (b) supervised and

controlled employee work schedules or conditions of employment for Defendants' restaurants;

(c) determined the rat and method of payment for the restaurant employees; and (d) maintained

employment records for the corpdrate entities and restaurants named in this action.

29.    Defendants FAMILY GARDEN II, GARDEN ZHANG, HAPPY FAMILY, Defendant

HE, Defendant ZHANG, Defendant "JANE DOE", and Defendant GAO are each employers

within the meaning of the FLSA.

30.    Upon information and belief, the named Defendants each had complete control of the

alleged activities of the restaurants which give rise to the claims brought herein.

31.    Upon information and belief, Defendants each and all have willfully disregarded and

purposefully evaded recordkeepiQ.g requirements of the FLSA and applicable Pennsylvania State

law, and the supporting regulations, by failing to maintain proper and complete timesheets or

payroll records.




                                                                                                   6
        Case 5:18-cv-01325-JFL Document 1 Filed 03/30/18 Page 13 of 14




                                           I
                   FIRST CAUSE OF ACTION AGAINST DEFENDANTS

32.     Plaintiff repeats and re-alleges the preceding allegations.

33.     Pursuant to 29 U.S.C. 207; "no employer shall employ any of his employees who in any

workweek is engaged in commerde or in the production of goods for commerce, or is employed

in an enterprise engaged in commerce or in the production of goods for commerce, for a

workweek longer than forty hours unless such employee receives compensation for his

employment in excess of the hours above specified at a rate not less than one and one-halftimes

the regular rate at which he is employed."

34.     Defendants failed to pay the Plaintiff overtime wages at the rate of one and one-half
                                       '
times the regular rate of pay, for all hours worked in excess of forty (40) hours in any workweek.

35.     Upon information and beltef, the failure of Defendants to pay the Plaintiff his rightfully

owed overtime compensation was willful.

36.     By the foregoing reasons, Defendants are liable to Plaintiff in an amount to be

determined at trial, plus liquidated damages in the amount equal to the amount of unpaid wages,

interest, attorneys' fees and costs.

WHEREFORE, Plaintiff demands judgment:

        ( 1)    On the first cause ~faction against Defendants, in an amount to be determined at
trial, plus liquidated damages in tbe amount equal to the amount of unpaid wages, interest,
attorneys' fees if any, and costs;
        (2)     Such other and further relief as the Court may deem just and proper.


Dated: February 20, 2018
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                                                      39-15 Main Street- Suite 318
                                                      Flushing, NY 11354
                                                      (718) 880-0475


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        I, Yong Li, the Plaintiff in this action, declare under penalty of perjury that the statements
in the foregoing Complaint are true to the best of my knowledge.




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